
Judge Roane
pronounced the court’s opinion .
*10The court is of opinion, that, it being stated, in the second bill of exceptions, that the testator of the appellees died in possession of the land in controversy, in the fall of 1807, and had held possession thereof, “ adverse to the lessor of the plaintiff” (the appellant) "from the year 1797;" that the possession is not to be taken to relate to the said appellant only, in exclusion of Lewis and Follette, under whom he claims ; especially as the said appellant’s title did not commence until after the death of the said testator, viz. on the 29th of January, 1810. The said possession, therefore, being considered as adverse to Lewis and Follette, under whom the appellant claims, the court is of opinion that there is no error in the instruction in the said bill contained, which states, that the testator of the appellees Laving had an adverse possession at the time of the deed of trust being executed, and that possession being continued, the jury ought to find for the. defendants.
On this ground, without considering any other, the court is of opinion to affirm the judgment.
